                       UNITED STATES BANKRUPTCY COURT
             FOR THE DISTRICT OF NORTHERN DISTRICT OF CALIFORNIA
                            SAN FRANCISCO DIVISION

 In re:
                                                 Chapter 11
 PG&E CORPORATION,
                                                 Case No. 19-30088 (DM)
          - and -

 PACIFIC GAS AND ELECTRIC                        (Jointly Administered)
 COMPANY,
                                                 Objection Deadline January 31, 2020 @
                              Debtors.           4:00 p.m. (ET)

  Affects PG&E Corporation
  Affects Pacific Gas and Electric Company
  Affects both Debtors

 * All papers shall be filed in the Lead Case,
 No. 19-30088 (DM).


                 MONTHLY STAFFING AND COMPENSATION REPORT OF
                       AP SERVICES, LLC FOR THE PERIOD
                FROM NOVEMBER 1, 2019 THROUGH NOVEMBER 30, 2019

       In accordance with the Order Pursuant to 11 U.S.C. §§ 363(b) and 105(a) Authorizing the

Debtors to Employ and Retain AP Services, LLC to provide a Chief Restructuring Officer, Deputy

Chief Restructuring Officer and additional personnel for the Debtors Nunc Pro Tunc to the Petition

Date [Docket No. 1299], AP Services, LLC (“APS”) hereby submits its Monthly Staffing and

Compensation Report for the period of November 1, 2019 through November 30, 2019 (the

“Compensation Period”).




Case: 19-30088      Doc# 5335      Filed: 01/10/20   Entered: 01/10/20 10:06:47      Page 1 of
                                               3
       During the Compensation Period, APS incurred $4,941,332.00 in fees and $461,592.85 in

expenses for a total amount of $5,402,924.85, as reflected in the attached exhibits.

Dated: January 10, 2020                      AP SERVICES, LLC
                                             865 S Figueroa Street, Suite 2310
                                             Los Angeles, CA 90017


                                             By: John Boken
                                                 Managing Director




Case: 19-30088       Doc# 5335      Filed: 01/10/20     Entered: 01/10/20 10:06:47     Page 2 of
                                                3
                                          EXHIBITS

Annexed hereto are the following exhibits for the Monthly Staffing and Compensation Report of AP
Services, LLC for the Period from November 1, 2019 through November 30, 2019

   Exhibit A - Summary of Compensation and Expenses

   Exhibit B - Summary of Fees and Hours by Professionals and
               Description of Responsibilities of Professionals

   Exhibit C - Summary of Expenses




Case: 19-30088      Doc# 5335     Filed: 01/10/20   Entered: 01/10/20 10:06:47      Page 3 of
                                              3
